                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-658

                                           No. COA21-170

                                     Filed 7 December 2021

     Mitchell County, Nos. 16 CRS 216-17, 50408, 50413

     STATE OF NORTH CAROLINA

                  v.

     TRAVIS WAYNE BOWMAN


           Appeal by defendant from judgments entered 14 February 2020 by Judge Gary

     M. Gavenus in Mitchell County Superior Court. Heard in the Court of Appeals 17

     November 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Michael T.
           Henry, for the State.

           Leslie Rawls for defendant-appellant.


           TYSON, Judge.


¶1         Travis Wayne Bowman (“Defendant”) appeals from a jury’s verdicts finding

     him guilty of first-degree murder under three separate bases, possession of a firearm

     by a convicted felon, conspiracy to commit first-degree murder, and first-degree

     kidnapping. We find no error.

                                      I.     Background

¶2         Joshua Emmanuel Buchanan (“Buchanan”) had allowed Defendant to borrow
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     his Ford Mustang vehicle. Defendant was driving the Mustang and was pulled over

     by law enforcement. Buchanan’s Mustang was impounded. Defendant concluded he

     was stopped by law enforcement because Buchanan had told law enforcement about

     his trafficking and dealing in methamphetamine. Defendant presumed Buchanan

     had provided names of individuals involved in methamphetamine distribution to law

     enforcement. Defendant’s girlfriend, Felicia Fox, was present in the Mustang during

     the traffic stop. She stated that she had no reason to believe Buchanan had provided

     any names to law enforcement.

¶3         Defendant went to a residence located on Valley View Road in Bakersville,

     which Buchanan shared with his mother, Regina Pittman, and Fox, after Buchanan’s

     Mustang was impounded. Buchanan, Pittman, and Fox all suffered from substance

     abuse and drug addictions and abused methamphetamine and other controlled

     substances. Defendant had been selling methamphetamine to Buchanan, Fox, and

     Pittman for around three months. Defendant brandished a gun and told Fox “I smell

     death.”

¶4         Several days after the Mustang was impounded, Defendant took Buchanan

     and Fox to Kevin Buchanan’s (“Kevin”) residence where they smoked marijuana with

     William Guttendorf. Defendant asked Guttendorf and Buchanan to drive to town to

     buy cigarettes, bottles of Mountain Dew soft drink, and 9mm ammunition. Defendant

     sent Guttendorf and Buchanan to the store because the license tag on his Jeep was
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     not valid.

¶5         When Guttendorf and Buchanan returned with a couple packs of cigarettes, a

     bottle of Mountain Dew, and 9mm ammunition, Defendant accused Buchanan of

     “snitching” about his methamphetamine dealing. Defendant grabbed Buchanan by

     the collar of his shirt and continued to question Buchanan about “snitching.”

     Defendant fired two rounds from a pistol into the ground near Buchanan’s feet.

¶6         Defendant had Buchanan to call several of Defendant’s family members and

     asked them to vote on whether Buchanan should live or die. Defendant struck

     Buchanan and briefly held him in a chokehold.

¶7         Defendant had Buchanan, Guttendorf, and Fox to accompany him to Clayton

     Speaks’ residence to transact a methamphetamine sale. While at Speaks’ house,

     Defendant told Speaks that Buchanan had “snitched” and asked if Buchanan should

     live or die. Speaks told Defendant not to hurt Buchanan.

¶8         Defendant left Speaks and drove himself, Buchanan, Guttendorf, and Fox to

     Matthew Ledford’s house.     On the way to Matthew’s house, Defendant struck

     Buchanan and stated if he killed Buchanan, he would have to “figure out” what to do

     with Guttendorf and Fox.

¶9         At Matthew’s house, Defendant told him that Buchanan had given law

     enforcement a list of people who were involved in methamphetamine distribution. At

     some point, Matthew’s brother, Chad Ledford, who lived across the street, arrived.
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       Defendant insisted that the group smoke methamphetamine, which he claimed

       contained “truth serum.” Defendant struck Buchanan demanding to know “why he

       had snitched.” While holding a gun, Defendant filmed Buchanan’s “admission” to

       cooperating with law enforcement on his cell phone. Defendant asked Matthew and

       Chad what he should do with Buchanan.

¶ 10         Members of the group smoked methamphetamine twice from two bags. After

       dark, Defendant claimed “people . . . from Georgia” had arrived to “take care of

       [Buchanan].” Defendant took Buchanan outside the house and a green laser was

       focused on Buchanan. The source of the green laser was unknown. Defendant asked

       Buchanan “if he was ready to die.”     Buchanan tried to hide behind Fox, then

       attempted to run away. Defendant tackled him and dragged him back towards

       Matthew’s house. Once Buchanan was back under his control, Defendant used his

       cellphone and recorded him pleading for his life. Buchanan urinated on himself.

       Defendant did not allow Buchanan to leave, and Defendant, Buchanan, Guttendorf,

       and Fox spent the night at either Chad or Matthew’s house.

¶ 11         The next morning, Defendant, Buchanan, Guttendorf, and Fox used

       methamphetamine twice. Defendant returned the group back to the home which

       Buchanan and Fox shared with Pittman.         After arrival, Defendant, Buchanan,

       Guttendorf, Fox, and Pittman used more methamphetamine. In the home, Defendant

       threatened to keep Buchanan as a hostage unless Buchanan’s grandmother gave
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       Defendant $3,000. Defendant stopped requesting a ransom. He began accusing

       Buchanan of molesting two unnamed minor girls and Buchanan’s sister.

¶ 12         Defendant took the group to one of the Ledford brothers’ houses. Defendant

       showed Buchanan a website showing young girls dancing in their underwear he

       claimed he had “created . . . to catch people who are being perverted to little girls.”

       Defendant prohibited Buchanan from being able to “walk around by himself.”

¶ 13         The group slept for a period before they went to Kevin’s house for Guttendorf

       to retrieve his pickup truck. Defendant, Buchanan, Guttendorf, Fox, and Kevin

       returned to the home Buchanan, Fox, and Pittman shared. Defendant hit Buchanan

       a couple of times in the car.

¶ 14         The group began injecting methamphetamine intravenously. Defendant asked

       Kevin if he had anything to make a “hot shot,” a mixture for injection of some kind of

       poison and methamphetamine, so Defendant could make Buchanan, Fox, and maybe

       Pittman “kill [them]selves.” Kevin found something he called “rat poison” which he

       loaded into a syringe, which no one injected.

¶ 15         Defendant offered to release Buchanan if he would kill his mother, Pittman.

       Defendant then changed his mind and revoked the offer to Buchanan. Defendant

       ordered Fox to beat up Pittman, which she did.

¶ 16         Defendant seized Buchanan by his shirt and hit him in the back of the head

       with the butt of the gun, while asking Guttendorf if he thought “this shit’s a game?”
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       Defendant ordered Buchanan to sit on the floor, telling him “he wouldn’t make it far”

       if he ran because he “had people staked out.” Defendant, Buchanan, Fox, Guttendorf,

       and Pittman went to Guttendorf’s apartment where they got high “a couple of times”

       on methamphetamine. Defendant, Buchanan, Guttendorf, and Fox spent the night

       at Guttendorf’s apartment and continued to use methamphetamine.

¶ 17         The next morning Defendant, Buchanan, Guttendorf, and Fox used more

       methamphetamine. Defendant had Guttendorf to take Fox and Pittman back to their

       home and told him to pick up cigarettes and drinks. Defendant told Guttendorf to

       return to the apartment so they could “kick [Buchanan’s] ass and then let him go.”

¶ 18         During the drive to the home, which Pittman, Fox, and Buchanan shared,

       Guttendorf told Fox “the best thing [Pittman and Fox] could do was just keep their

       mouths shut.” Once Guttendorf dropped Pittman and Fox off, he stopped at a Texaco

       gas station and purchased two packs of cigarettes and two bottles of soft drink.

       Guttendorf also stopped to pick up a friend, Melissa Thompson, because he “didn’t

       want to be alone with [Defendant] and [Buchanan].”

¶ 19         Defendant bound Buchanan’s hands with duct tape and filmed an eight-minute

       video on his cell phone of him “interrogating” Buchannan and his “confessing” to

       various acts of child molestation.    The video depicts Buchanan trembling and

       admitting to all accusations Defendant made.

¶ 20         Defendant pistol whipped and hit Buchanan. Defendant shot Buchanan in the
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       left shin, shattering his tibia. Another video depicts Buchanan bleeding profusely

       from the gunshot wound and attempting to use towels to control the bleeding and

       stabilize his broken leg.

¶ 21         Law enforcement later interviewed Guttendorf and Fox, who were not aware

       of any evidence that Buchanan had ever molested children. Law enforcement also

       interviewed the purported victims, which revealed no evidence of child molestation

       or any other crime warranting further investigation.

¶ 22         Defendant returned Buchanan to the home he shared with Fox and Pittman.

       When Guttendorf arrived at his apartment he saw a bloody footprint on the front

       steps. Guttendorf went inside to investigate, while Thompson remained inside the

       truck. Inside his apartment, Guttendorf found “blood all over the place” in his living

       room. Defendant called Guttendorf and told him to come to Buchanan’s home.

¶ 23         When Guttendorf and Thompson pulled into the driveway, Guttendorf saw

       Defendant armed with a gun. Buchanan had a “homemade bandage” around his leg.

       Guttendorf attempted to leave and began to pull the truck out of the driveway. He

       stopped and put his hands up after Defendant approached the truck with the gun.

       Guttendorf and Thompson exited the vehicle and entered the house. Defendant

       showed Guttendorf, Fox, and Thompson the cell phone videos taken at Guttendorf’s

       apartment of Buchanan’s “confessions” of child molestation, of Defendant hitting

       Buchanan in the head, pistol whipping Buchanan, and Defendant shooting Buchanan
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       in the leg.

¶ 24          At some point Pittman said she was “not gonna have a pedophile in [her]

       house.” Buchanan limped out onto the porch and fell down. Defendant then kicked

       Buchanan. Guttendorf went inside the home, a few minutes later, Defendant came

       inside looking for a rope or cord to “make [Buchanan] hang himself.” Defendant found

       a telephone cord and went back outside.

¶ 25          When Guttendorf and Fox went outside a few minutes later, they saw the cord

       draped over a tree branch and wrapped around Buchanan’s neck. Buchanan was

       almost on his knees and his face was turning blue. Buchanan’s feet could touch the

       ground, if he could have stood up. Fox determined Buchanan “was just [too] tired.”

       Defendant told Fox not to call 911.

¶ 26          The telephone cord broke, and Buchanan fell onto the ground. Buchanan

       attempted to crawl under Guttendorf’s truck, but Defendant “pulled him backout

       (sic)” and told him “he wasn’t going nowhere.”

¶ 27          Buchanan limped into the home, but Pittman told Defendant “to get

       [Buchanan] out of the house and . . . [to] do whatever he needed to do.” Defendant

       forcefully took Buchanan out of the house and threw him down in a patch of weeds in

       the yard.     Buchanan began to scream.       Defendant held out the gun and told

       Thompson, Guttendorf, and Fox they could either “get involved or [they] could be

       next.” Defendant ordered Thompson or Fox to get a large rock and hit Buchanan.
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       Buchanan was hit at least twice in the head with a large rock approximately ten

       inches in diameter.     Defendant told Buchanan to go “lay somewhere and die.”

       Buchanan stumbled approximately fifteen to twenty feet before collapsing.

¶ 28          Defendant told Fox she could either kill Buchanan or that he would hurt her

       younger sister and family. Fox initially refused, but Defendant reiterated she would

       either shoot Buchanan or he was “gonna hurt [them]all.” Fox took the gun from

       Defendant, shot Buchanan once in the side of the head killing him. Fox handed the

       gun back to Defendant.       Defendant acted surprised Fox had shot Buchanan as

       instructed. Guttendorf testified Defendant remarked: “I can’t believe she did it, she

       f[--]king did it, she shot him.”

¶ 29          Defendant told the group “none of [them] could leave” because they were “a

       part of it now.” Defendant instructed Guttendorf and Thompson to move Buchanan’s

       body and directed the others to begin mixing bleach and water to pour over the areas

       where they had dragged Buchanan’s body.

¶ 30          Defendant left and picked up Kevin. When they returned, Buchanan’s body

       was wrapped in a blanket and they left with the body in the bed of Guttendorf’s truck.

       Defendant and Kevin initially left Buchanan’s body beside Cane Creek. Defendant

       later decided this spot was not satisfactory. Defendant had Guttendorf follow him

       back to retrieve Buchanan’s body. Defendant and Guttendorf loaded Buchanan’s

       body in the back of Guttendorf’s truck and went to Chad’s house to borrow a
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       wheelbarrow.

¶ 31         Defendant, Fox, Thompson, Kevin and Guttendorf went to Guttendorf’s

       apartment. Defendant retrieved the spent bullet from the couch from when he had

       shot Buchanan in the leg. Thompson and Guttendorf cleaned up the blood from the

       floor. Defendant kept the spent bullet “as a trophy.” Defendant later put a string

       through the bullet and “showed” it to people.

¶ 32         Behind a shed at Guttendorf’s apartment, Defendant, Guttendorf, and Kevin

       dug a hole and placed Buchanan’s body in it, poured a chemical on the body, filled the

       hole with dirt, and placed a wooden pallet on top of the ground.         Fox cleaned

       Defendant’s Jeep and threw items off an embankment along the road.

¶ 33         Thompson, Guttendorf, Defendant, and Fox separated into two groups.

       Thompson and Guttendorf did not contact law enforcement because Defendant had

       “threatened [their] families” and threatened they would “end up like” Buchanan.

       Defendant and Fox went to Georgia to stay with Defendant’s family. Guttendorf

       testified Buchanan’s body was buried around 27 September 2016. Buchanan’s sister

       and cousin reported him missing on 2 October 2016. Law enforcement officers located

       and exhumed Buchanan’s body on 7 October 2016.

¶ 34         Defendant was arrested by the Bartow County (Georgia) Sherriff’s Office on 10

       October 2016. Defendant was indicted for possession of a firearm by a convicted felon,

       conspiracy to commit first-degree murder, first-degree kidnapping, and first-degree
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       murder on 14 November 2016.

¶ 35         Defendant was tried capitally. The jury found Defendant guilty of all charges

       including first-degree murder on three bases of malice, premeditation, and

       deliberation; by torture; and, under the felony-murder rule. The jury deadlocked on

       imposing the death sentence.

¶ 36         Defendant was sentenced to life imprisonment without the possibility of parole

       for the first-degree murder. Defendant was also sentenced to serve consecutive active

       sentences of 17 to 30 months for the possession of a firearm by a felon conviction, 207

       to 261 months for the conspiracy to commit first-degree murder conviction, and 96 to

       128 months for first-degree kidnapping conviction, all to run consecutively to

       Defendant’s life imprisonment without parole. Defendant appeals.

                                       II.      Jurisdiction

¶ 37         Jurisdiction lies in this Court pursuant to N.C. Gen. Stat. §§ 7A-27(b)(1) and

       15A-1444(a) (2019).

                                             III.   Issues

¶ 38         Defendant argues the trial court erred by denying his request for a jury

       instruction on voluntary intoxication and by denying his motion to dismiss the first-

       degree murder charge on the basis of torture.

                                IV.   Voluntary Intoxication

¶ 39         Defendant argues the trial court erred by denying his request for a jury
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       instruction on voluntary intoxication.     He asserts his voluntary intoxication of

       methamphetamine defeated his ability to form the specific intent necessary to

       support first-degree murder, based on malice, premeditation, and deliberation and

       the felony-murder rule, and for first-degree kidnapping.

                                     A. Standard of Review

¶ 40         Arguments “challenging the trial court’s decisions regarding jury instructions

       are reviewed de novo by this Court.” State v. Osorio, 196 N.C. App. 458, 466, 675

       S.E.2d 144, 149 (2009). “When determining whether the evidence is sufficient to

       entitle a defendant to jury instructions on a defense or mitigating factor, courts must

       consider the evidence in the light most favorable to [the] defendant.” State v. Mash,

       323 N.C. 339, 348, 372 S.E.2d 532, 537 (1988). “Substantial evidence is such relevant

       evidence as a reasonable mind might accept as adequate to support a conclusion.”

       State v. Franklin, 327 N.C. 162, 171, 393 S.E.2d 781, 787 (1990).

                                           B. Analysis

¶ 41         Over a century ago, our Supreme Court warned “the doctrine [of voluntary

       intoxication] should be applied with great caution.” State v. Murphy, 157 N.C. 614,

       617-18, 72 S.E. 1075, 1076-77 (1911). A defendant is not entitled to a jury instruction

       on voluntary intoxication “in every case in which a defendant . . . consum[es] . . .

       controlled substances.” State v. Baldwin, 330 N.C. 446, 462, 412 S.E.2d 31, 41 (1992).

¶ 42         A defendant “must produce substantial evidence which would support a
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       conclusion by the judge that he was so intoxicated that he could not form a deliberate

       and premeditated intent to kill.” Mash, 323 N.C. at 346, 372 S.E.2d at 536. “Evidence

       of mere intoxication . . . is not enough to meet defendant’s burden of production.” Id.
       Defendant’s intent to kill can be inferred by his actions “before, during, and after a

       crime.” State v. Phillips, 365 N.C. 103, 141, 711 S.E.2d 122, 149 (2011).

¶ 43          “The evidence must show that at the time of the killing the defendant’s mind

       and reason were so completely intoxicated and overthrown as to render him utterly

       incapable of forming a deliberate and premeditated purpose to kill.”              State v.

       Strickland, 321 N.C. 31, 41, 361 S.E.2d 882, 888 (1987) (citation omitted); see State

       v. Cureton, 218 N.C. 491, 495, 11 S.E.2d 469, 471 (1940) (“[T]here must be some

       evidence tending to show that the defendant’s mental processes were so overcome by

       the excessive use of . . . intoxicants that he had temporarily, at least, lost the capacity

       to think and plan.”). If a defendant does not produce “evidence of intoxication to such

       degree, the court is not required to charge the jury thereon.” Strickland, 321 N.C. at

       41, 361 S.E.2d at 888 (citation omitted). Voluntary intoxication is only a defense to

       specific intent crimes. See State v. Jones, 300 N.C. 363, 365, 266 S.E.2d 586, 587
       (1980).

¶ 44          Defendant argues his specific intent convictions: first-degree murder based on

       malice, premeditation, and deliberation and the felony-murder rule and first-degree

       kidnapping must be reversed because he lacked the requisite intent due to
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       intoxication from methamphetamine. Defendant and the others present before and

       after Buchanan’s killing were smoking and injecting methamphetamine. Defendant

       asserts the inconsistencies in locations and time spans in the State’s witnesses’

       testimony stem from their use of methamphetamine.             Witnesses testified to

       experiencing symptoms of methamphetamine intoxication: lack of sleep, confusion as

       to the timeline of events, paranoia, and agitation.

¶ 45         Defendant further asserts Fox’s testimony, stating that Defendant that was

       becoming paranoid and “wigging,” during the events mandates the trial court should

       have issued the voluntary intoxication instruction. Fox defined these phrases as

       “paranoia in my book would be seeing things and stuff like that. But wigging out is

       like what I would consider them actually believing that stuff’s there.”

¶ 46         Contrary to Defendant’s assertion, Fox’s testimony was only evidence of his

       intoxication. Defendant has failed to show his “mind and reason were so completely

       intoxicated and overthrown [from methamphetamine use] as to render him utterly

       incapable of forming a deliberate and premeditated purpose to kill.” Strickland, 321

       N.C. at 41, 361 S.E.2d at 888 (citation omitted).

¶ 47         Ample evidence of Defendant’s specific intent supports the first-degree murder

       conviction based on malice, premeditation, and deliberation. Defendant’s actions

       showing he “intended for his action[s] to result” in Buchanan’s death are that he

       brandished the gun while declaring he “smell[ed] death,” pondered having to “figure
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       out” what to do with the witnesses if he killed Buchanan, ordered Fox or Thompson

       to hit Buchanan with a large rock, told Fox to kill Buchanan, orchestrated the

       disposal of Buchanan’s body, retained the spent bullet as a “trophy,” fled to Georgia

       to avoid arrest after the killing, described his actions to family in Georgia, and showed

       videos he filmed of Buchanan on his cellphone. Phillips, 365 N.C. at 141, 711 S.E.2d

       at 149 (citation omitted).

¶ 48         Ample evidence of Defendant’s specific intent to kill supports the first-degree

       murder conviction based on the felony-murder rule. The underlying crime for the

       felony-murder rule was first-degree kidnapping. “[T]he actual intent to kill may be

       present or absent; however, the actual intent to commit the underlying felony is

       required.” State v. Jones, 353 N.C. 159, 167, 538 S.E.2d 917, 924 (2000). Defendant’s

       actions show his specific intent to unlawfully restrain or confine over successive days,

       stating he was doing this in retribution for Buchanan’s “snitching,” binding

       Buchanan’s hands behind his back, retrieving Buchanan when he tried to escape on

       foot, offering freedom if Buchanan killed his mother, Pittman, threatening to kill

       Buchanan by a “hot shot,” and orchestrating the attempted hanging of Buchanan.

¶ 49         Defendant possessed and demonstrated the requisite intent to commit the

       underlying felony, first-degree kidnapping, to support the felony murder conviction.

       Defendant’s argument is without merit and overruled.

                            V.      First-Degree Murder by Torture
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¶ 50         Defendant argues the trial court erred by denying his motion to dismiss the

       first-degree murder charge on the basis of torture.

                                     A. Standard of Review

¶ 51         “Upon defendant’s motion for dismissal, the question for the Court is whether

       there is substantial evidence (1) of each essential element of the offense charged, or

       of a lesser offense included therein, and (2) of defendant’s being the perpetrator of

       such offense. If so, the motion is properly denied.” State v. Fritsch, 351 N.C. 373,

       378, 526 S.E.2d 451, 455 (citation omitted), cert. denied, 531 U.S. 890, 148 L. Ed. 2d

       150 (2000).

¶ 52         “In making its determination, the trial court must consider all evidence

       admitted, whether competent or incompetent, in the light most favorable to the State,

       giving the State the benefit of every reasonable inference and resolving any

       contradictions in its favor.” State v. Rose, 339 N.C. 172, 192, 451 S.E.2d 211, 223
       (1994) (citation omitted), cert. denied, 515 U.S. 1135, 132 L. Ed. 2d 818 (1995). “The

       denial of a motion to dismiss for insufficient evidence is a question of law which this

       Court reviews de novo.” State v. Bagley, 183 N.C. App. 514, 523, 644 S.E.2d 615, 621
       (2007) (citation omitted).

                                             B. Analysis

¶ 53         Defendant asserts the trial court erred by denying his motion to dismiss the

       first-degree murder on a basis of torture. He argues the State’s medical expert, Jerri
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       Lynn McLemore, MD testified Buchanan died from Fox’s gunshot.

¶ 54         “First-degree murder by torture requires the State to prove that the accused

       intentionally tortured the victim and that such torture was a proximate cause of the

       victim’s death.”   State v. Pierce, 346 N.C. 471, 492, 488 S.E.2d 576, 588 (1997)

       (citations and internal quotation marks omitted). Torture is defined as “the course of

       conduct by one or more persons which intentionally inflicts grievous pain and

       suffering upon another for the purpose of punishment, persuasion, or sadistic

       pleasure.” State v. Anderson, 346 N.C. 158, 161, 484 S.E.2d 543, 545 (1997) (citation

       omitted). Our Supreme Court defines the course of conduct to constitute torture as

       “the pattern of the same or similar acts, repeated over a period of time, however short,

       which established that there existed in the mind of the defendant a plan, scheme,

       system or design to inflict cruel suffering upon another.” Id. (citation omitted).

¶ 55         The Court upheld a first-degree murder by torture conviction in State v. Lee,

       348 N.C. 474, 489-90, 501 S.E.2d 334, 344 (1998). In Lee, the defendant participated

       in repeated physical abuse of the victim for a three-day period and then left the

       residence six days before the victim was killed. Id.
¶ 56         Defendant’s actions “to inflict cruel suffering” intended to punish Buchanan

       for purportedly “snitching.” Defendant’s course of conduct occurred over the period

       of days while Buchanan was detained, humiliated, beaten, and tortured.               Id.
       Contrary to Defendant’s assertions, the torture of Buchanan did not just occur when
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       he shot him in the leg, but began before when he struck Buchanan, polled others to

       vote if Buchanan should live or die, demanded a “hot shot” be mixed to inject

       Buchanan, set up and attempted to hang Buchanan by the telephone cord, ordered

       Buchanan’s beating with a rock, and concluded with Defendant ordering Fox, under

       threats to her and her families’ lives, to shoot and kill Buchanan. The trial court

       properly denied Defendant’s motion to dismiss the first-degree murder charge under

       a theory of torture. Defendant’s argument is overruled.

                                      VI.     Conclusion

¶ 57         Defendant failed to show his “mind and reason were so completely intoxicated

       and overthrown [from methamphetamine use so] as to render him utterly incapable

       of forming a deliberate and premeditated purpose to kill.” Strickland, 321 N.C. at 41,

       361 S.E.2d at 888 (citation omitted). The trial court properly denied Defendant’s

       request for an instruction on voluntary intoxication.

¶ 58         Viewing the evidence in the light most favorable to the State, sufficient

       evidence exists to infer Defendant intended to terrorize or injure Buchanan during

       the period of confinement. Sufficient evidence exists to show acts of “grievous pain

       and suffering” were inflicted by Defendant for punishment. Anderson, 346 N.C. at

       161, 484 S.E.2d at 545 (citation omitted).

¶ 59         The trial court did not err in denying Defendant’s motion to dismiss the first-

       degree murder by torture charge.         Defendant received a fair trial, free from
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prejudicial errors he preserved and argued. We find no error in the jury’s verdicts or

in the judgments entered thereon. It is so ordered.

      NO ERROR.

      Judges DIETZ and GRIFFIN concur.
